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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

             Plaintiffs,
        v.                                          Civil Action No. 25-0946 (CKK)
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

             Defendants.


 DEMOCRATIC NATIONAL COMMITTEE,
 et al.,

             Plaintiffs,
        v.                                          Civil Action No. 25-0952 (CKK)
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

             Defendants.


 LEAGUE OF WOMEN VOTERS
 EDUCATION FUND, et al.,

             Plaintiffs,
        v.                                          Civil Action No. 25-0955 (CKK)
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

             Defendants.

                           MEMORANDUM OPINION & ORDER
                                  (June 12, 2025)

       The Republican National Committee (RNC) has moved to intervene as a Defendant in these

consolidated cases, seeking to defend provisions of an Executive Order that the Plaintiffs have



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challenged. RNC’s Mot., ECF No. 125. The Federal Defendants1 and the Democratic Party

Plaintiffs2 take no position on the RNC’s motion. See id. at 1. The LULAC Plaintiffs3 and the

League Plaintiffs4 oppose the motion. See Nonpartisan Pls.’ Opp’n, ECF No. 130. Upon

consideration of the parties’ submissions,5 the relevant legal authority, and the entire record, the

Court shall GRANT IN PART and DENY IN PART the RNC’s motion, allowing the RNC to

intervene as a Defendant against all Plaintiffs’ claims regarding Sections 2(a), 2(b), 2(d), 3(a), and

7(a) of Executive Order 14,248.

                                            I. BACKGROUND

        Earlier this year, three groups of Plaintiffs filed actions in this District Court challenging

various provisions of Executive Order 14,248, entitled “Preserving and Protecting the Integrity of

American Elections.” Exec. Order 14,248, 90 Fed. Reg. 14005 (Mar. 25, 2025). Two of the groups

of Plaintiffs are groups of nonpartisan, not-for-profit organizations. See Compl., Case No. 25-cv-

0946; Compl., Case No. 25-cv-0955. The third group consists of various affiliates of the

Democratic Party, including two elected officials. See Compl., Case No. 25-cv-0952.

        Given the overlap among the legal and factual issues involved in each case, the Court

consolidated the three actions and directed the parties to consolidate their briefing and argument



1
 The Federal Defendants include Donald J. Trump, in his official capacity as President of the United States, and
various federal agencies and federal officers in their official capacities.
2
  The Democratic Party Plaintiffs are the Plaintiffs in Case No. 25-cv-552: Democratic National Committee,
Democratic Governors Association, DSCC, DCCC, U.S. Senate Minority Leader Charles E. Schumer, and U.S. House
of Representatives Minority Leader Hakeem S. Jeffries.
3
  The LULAC Plaintiffs are the Plaintiffs in Case No. 25-cv-946: the League of United Latin American Citizens
(“LULAC”), the Secure Families Initiative, and the Arizona Students’ Association.
4
 The League Plaintiffs are the Plaintiffs in Case No. 25-cv-955: the League of Women Voters Education Fund, the
League of Women Voters of the United States, the League of Women Voters of Arizona, the Hispanic Federation, the
National Association for the Advancement of Colored People (“NAACP”), OCA – Asian Pacific American
Advocates, and Asian and Pacific Islander American Vote.
5
 The Court’s consideration has focused on the RNC’s Motion, ECF No. 125, the Nonpartisan Plaintiffs’ Opposition,
ECF No. 130, and the RNC’s Reply, ECF No. 132.

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to the extent practicable. See Order, ECF No. 12. The Court later modified the consolidation order

to allow the Democratic Party Plaintiffs to brief the issues in these cases separately from other

Plaintiffs without party affiliations. See Order, ECF No. 31.

       The Plaintiffs then filed motions for preliminary injunctions, which the Court granted in

part and denied in part. See League of United Latin Am. Citizens v. Exec. Off. of the President

(“LULAC I”), No. 25-cv-0946, --- F.3d. ----, 2025 WL 1187730 (D.D.C. Apr. 24, 2025) (CKK).

       The Court later entered a scheduling order directing the parties to meet and confer, file a

joint report in accordance with Local Rule 16.3, and appear for an initial conference to discuss a

schedule for further proceedings. See Order, ECF No. 122.

       The Republican National Committee (RNC) has now filed a motion to intervene as a

Defendant in these consolidated cases. See RNC’s Mot., ECF No. 125. The RNC is a “national

committee” comprised of 168 voting members, including several members who are currently

running for reelection to federal office. See Decl. of Michael Ambrosini (“Ambrosini Decl.”),

ECF No. 125-1, ¶¶ 2, 6. The RNC asserts interests in ensuring “that only qualified voters vote and

that unqualified voters do not dilute the votes cast by lawful voters,” in promoting “efficient

election administration,” and in protecting “their voters’ confidence in elections by ensuring the

accuracy and integrity of election outcomes.” RNC’s Mot. at 1; see also Ambrosini Decl. ¶¶ 5, 8–

9. The RNC asserts these interests both on its own behalf and on behalf of its members. RNC’s

Mot. at 4–5; see also Ambrosini Decl. ¶ 8.

       The RNC asserts that it “supports” the Executive Order at issue in these cases because

several of the Executive Order’s provisions will positively affect its “voter registration, get-out-

the-vote, and election-integrity efforts.” RNC’s Mot. at 4; see also Ambrosini Decl. ¶¶ 9–26.

Specifically, the RNC asserts an interest in the implementation of Sections 2(b) and 3(a) of the



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Executive Order, which relate to the maintenance of state voter rolls, because it “relies on voter

rolls to communicate with voters, advise candidates, and turn out voters to vote.” RNC’s Mot. at

4–5; see also Ambrosini Decl. ¶ 23–26. The RNC also asserts an interest in the implementation

of Sections 2(a) and 2(d) of the Executive Order, which purport to require new procedures for

verifying citizenship before registering new voters, because the RNC’s “candidates, members, and

voters” are “directly affected” when lawful votes are unlawfully “diluted by the votes of non-

citizens.” RNC’s Mot. at 4–5; see also Ambrosini Decl. ¶ 26.         Similarly, the RNC asserts an

interest in the implementation of Section 7(a), which purports to direct the Attorney General to

“enforce” the Election Day Statutes “against States” that count ballots received after Election Day

in federal elections, because the RNC contends that counting ballots received after Election Day

unlawfully dilutes other votes cast by or in favor of its “candidates, members, and voters”; affords

a political advantage to Democratic Party candidates, whose supporters are more likely to vote by

mail close in time to federal elections; undermines public confidence in elections; and forces the

RNC to divert resources that it would otherwise expend on other election-related efforts toward

“ballot chasing” and other efforts focused on mail-in voting in the period immediately preceding

Election Day. RNC’s Mot. at 4–5; see also Ambrosini Decl. ¶¶ 11–22.

                                    II. LEGAL STANDARD

       Federal Rule of Civil Procedure 24(a) provides that upon a “timely motion,” the Court

“must permit” intervention as of right by “anyone” who “claims an interest relating to the property

or transaction that is the subject of the action, and is so situated that disposing of the action may

as a practical matter impair or impede the movant’s ability to protect its interest, unless existing

parties adequately represent that interest.” Fed. R. Civ. P. 24(a)(2).

       In this Circuit, it is also “settled precedent” that “all would-be intervenors,” including

defendant-intervenors, must show that they have Article III standing to participate in the case. See
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Old Dominion Elec. Coop. v. FERC, 892 F.3d 1223, 1233 & n.2 (D.C. Cir. 2018); Crossroads

Grassroots Pol’y Strategies v. Fed. Election Comm’n (“Crossroads”), 788 F.3d 312, 316 (D.C.

Cir. 2015). To establish standing, a putative defendant-intervenor must make the same showing

that is required of a plaintiff: injury in fact, causation, and redressability. Crossroads, 788 F.3d at

316. A putative defendant-intervenor can carry this burden by showing that it “benefits from” an

executive action that is at issue in the case and that “an unfavorable decision would remove the

[putative defendant-intervenor’s] benefit.” See id. at 316–17.

        After assessing standing, courts apply a “four-factor test” when analyzing whether a

movant is entitled to intervene as of right under Rule 24(a). Crossroads, 788 F.3d at 320. Under

this test, the movant must show (1) that the motion to intervene is timely, (2) that the movant has

a “legally protected interest,” (3) “that the action, as a practical matter, impairs or impedes that

interest,” and (4) “that no party to the action can adequately represent the potential intervenor’s

interest.” Id.

        As an alternative route to intervention, Rule 24(b) provides that the Court “may” also allow

permissive intervention by “anyone” who “has a claim or defense that shares with the main action

a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). “In exercising its discretion” to

grant or deny permissive intervention, the Court “must consider whether the intervention will

unduly delay or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

                                         III. DISCUSSION

        Because the RNC satisfies each of the requirements for intervention as of right under

Federal Rule of Civil Procedure 24(a) and has established standing to defend against the Plaintiff’s

claims for relief from the implementation of Sections 2(a), 2(b), 2(d), 3(a), and 7(a) of Executive

Order 14,248, the Court shall grant its motion in part and allow it to intervene to defend those

provisions. However, because the RNC has not shown that it has standing to defend other
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provisions of the Executive Order challenged in the Plaintiffs’ Complaints—Sections 3(d), 4(a),

4(b), 4(c), 4(d), and 7(b)—the Court shall deny intervention as to those other provisions.

       A.      Standing

       The RNC has standing to defend the several provisions of Executive Order 14,248 that it

addresses in its motion to intervene. In assessing whether a litigant has standing, the Court must

accept the validity of its legal theory regarding the merits of the underlying claims. See Citizens

for Const. Integrity v. Census Bureau, 669 F. Supp. 3d 28, 32 (D.D.C. 2023) (three-judge panel),

aff’d on other grounds, 115 F.4th 618 (D.C. Cir. 2024); Mendoza v. Perez, 754 F.3d 1002, 1010

(D.C. Cir. 2014).

       Assuming the validity of its merits arguments, the RNC has standing to intervene to defend

several provisions of Executive Order 14,248 for many of the same reasons the Court previously

concluded that the Democratic Party Plaintiffs have shown a substantial likelihood of standing to

challenge some of those provisions. See, e.g., LULAC I, 2025 WL 1187730 at *33–35, *46–48.

The RNC has standing both in its own right (“organizational” standing) and standing to represent

the interests of its members (“associational” standing) to defend those provisions of the Executive

Order that directly benefit the electoral prospects of Republican candidates for federal office. See

Shays v. Fed. Election Comm’n, 414 F.3d 76, 87 (D.C. Cir. 2005); see also Nat. L. Party of U.S. v.

Fed. Election Comm’n, 111 F. Supp. 2d 33, 47 (D.D.C. 2000) (ESH) (recognizing political-

competitor standing for the “party affiliate” of an active candidate for political office).

       In its motion to intervene, the RNC argues that five specific provisions of Executive

Order 14,248 directly benefit its members and its mission of electing Republican candidates to

office. First, the RNC asserts that Sections 2(b) and 3(a) of the Executive Order, which relate to

the maintenance of state voter rolls, benefit the RNC and its members because they each rely on

accurate voter rolls to “communicate with voters, advise candidates, and turn out voters to vote.”
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See RNC’s Mot. at 4–5; Ambrosini Decl. ¶ 23–26. Second, the RNC argues that Sections 2(a) and

2(d) of the Executive Order, which purport to require new procedures for verifying citizenship

before registering new voters, benefit the RNC and its members by preventing unlawful vote

dilution. See RNC’s Mot. at 4–5; Ambrosini Decl. ¶ 26. Third, the RNC contends that Section

7(a), which purports to direct the Attorney General to “enforce” the Election Day Statutes “against

States” that count ballots received after Election Day in federal elections, will benefit the RNC

and its members by avoiding vote dilution; disallowing late-arriving ballots, which historically

have been more likely to be cast in favor of Democratic Party candidates than Republican Party

candidates; supporting public confidence in elections; and allowing the RNC and its members to

devote fewer resources to “ballot chasing” and other efforts related to mail-in voting in the period

immediately preceding Election Day. See RNC’s Mot. at 4–5; Ambrosini Decl. ¶¶ 11–22.

       Assuming the truth of the RNC’s factual claims and the validity of its legal theories on the

merits, as the Court must do when assessing standing, an order enjoining the implementation of

the provisions that the RNC addresses would eliminate these benefits for the RNC and its members

and contribute to the “illegal structuring of a competitive environment” in which the RNC and its

members compete with other candidates and parties for political power. See Shays, 414 F.3d at

85; Crossroads, 788 F.3d at 316–17. These prospective harms from an adverse decision in this

case are neither “indirect” nor “remote.” Cf. Yocha Dehe v. United States Dep’t of the Interior,

3 F.4th 427, 431 (D.C. Cir. 2021). Accordingly, the RNC has standing to intervene to defend

against the Plaintiffs’ claims for injunctive relief against those specific provisions.

       However, the RNC has not shown that is has standing to defend other provisions of the

Executive Order. For example, it has presented no argument that it has standing to defend

Section 7(b), which directs the U.S. Election Assistance Commission to “condition any available



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funding to a State” on the adoption of a rule requiring that all mail-in ballots be received by

Election Day. See generally RNC’s Mot.; cf. LULAC I, 2025 WL 1187730, at *53–56 (concluding

on the record then before the Court that the Democratic Party Plaintiffs had not shown a substantial

likelihood of standing to challenge Section 7(b)). Because “standing is not dispensed in gross”

and a litigant “must demonstrate standing separately for each form of relief sought,” the RNC

cannot intervene to defend against the Plaintiffs’ claims regarding these specific provisions

without showing that it has standing to do so. See Town of Chester, N.Y. v. Laroe Ests., Inc., 581

U.S. 433, 439–40 (2017) (first quoting Davis v. Federal Election Comm’n, 554 U.S. 724, 734

(2008); and then quoting DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 335 (2006)); see also

Crossroads, 788 F.3d at 316–17. Accordingly, the Court shall deny the RNC’s motion to the

extent that it seeks permission to intervene to defend provisions other than those for which it has

established standing.

       B.      Timeliness

       The RNC’s motion is timely. The timeliness of a motion to intervene “is to be judged in

consideration of all the circumstances,” including the “time elapsed since the inception of the suit”

and “the probability of prejudice to those already parties in the case.” Smoke v. Norton, 252 F.3d

468, 471 (D.C. Cir. 2001) (quoting United States v. AT&T, 642 F.2d 1285, 1295 (D.C. Cir. 1980)).

“[T]he requirement of timeliness is aimed primarily at preventing potential intervenors from

unduly disrupting litigation, to the unfair detriment of the existing parties.” Roane v. Leonhart,

741 F.3d 147, 151 (D.C. Cir. 2014). “Thus, even where a would-be intervenor could have

intervened sooner, in assessing timeliness a court must weigh whether any delay in seeking

intervention ‘unfairly disadvantage[d] the original parties.’” Id. (quoting Nat. Res. Def. Council v.

Costle, 561 F.2d 904, 908 (D.C. Cir. 1977)).



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       Here, the RNC moved to intervene approximately two months after the consolidated cases

were filed, before the filing of any dispositive motions or the beginning of any discovery.

Although the RNC filed its motion more than one month after the Court resolved the Plaintiffs’

motions for preliminary injunctions, the RNC pledges that it “will not appeal or move to

reconsider” the Court’s Order resolving those motions. RNC’s Reply at 6. The RNC also

“commits” that it will comply with the existing scheduling order, ECF No. 122, and “any

forthcoming procedural orders” the Court may issue. RNC’s Mot. at 8.

       Finally, The RNC has already filed proposed Answers to each of the three Complaints in

these consolidated cases, which can be docketed without delay. See ECF Nos. 125-2, 125-3, 125-

4. These filings would place the RNC in the same procedural posture as the Federal Defendants,

who recently filed their own Answers. ECF Nos. 123, 124, 131. Under these circumstances, the

timing of the RNC’s motion will not unfairly disadvantage any party. Accordingly, the motion to

intervene is timely.

       For the same reasons, allowing RNC to intervene will not “unduly delay or prejudice the

adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3). Accordingly, and in the

alternative, the Court finds that RNC would be entitled to permissive intervention under

Rule 24(b).

       C.      Protected Interests

       The RNC has a “legally protected interest” in the subject matter of these consolidated cases.

See Crossroads, 788 F.3d at 320. This conclusion follows directly from the Court’s conclusion

that the RNC has Article III standing to intervene as a Defendant based on its interest in competing

in fair contests for public office by registering, educating, and turning out voters. See supra

Section III.A; Crossroads, 788 F.3d at 320.



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       D.      Impairment of or Impediment to Protected Interests

       The resolution of these consolidated cases could “impair[] or impede[]” the RNC’s

interests. See Crossroads, 788 F.3d at 320. When analyzing whether a putative intervenor’s

interests may be impaired or impeded, courts look to the “practical consequences” of denying

intervention. Fund For Animals, Inc. v. Norton, 322 F.3d 728, 735 (D.C. Cir. 2003) (quoting

Costle, 561 F.2d at 909). Accordingly, courts may find an impairment of or impediment to a

putative intervenor’s interest even if the intervenor could “reverse an unfavorable ruling by

bringing a separate lawsuit.” Id. In these consolidated cases, the RNC’s asserted interests could

be burdened if the Court accepts the Plaintiffs’ arguments that some provisions of Executive Order

14,248 cannot lawfully be implemented. For example, a decision in the Plaintiffs’ favor could

result in an injunction barring the implementation of provisions that the RNC argues are beneficial

to its members’ ability to compete in federal elections. See RNC’s Mot. at 10. Therefore, the

RNC has shown that the disposition of these cases could impair or impede its interests.

       E.      Adequacy of Representation

       Finally, no other party in this case will “adequately represent” the RNC’s interests. See

Crossroads, 788 F.3d at 320. In this Circuit, the burden of showing inadequate representation by

existing parties is “not onerous” and is satisfied “unless it is clear that [an existing] party will

provide adequate representation.” Id. at 321 (first quoting Fund For Animals, 322 F.3d at 735;

and then quoting United States v. Am. Tel. & Tel. Co., 642 F.2d 1285, 1293 (D.C. Cir. 1980)).

Courts in this Circuit also “look skeptically on government entities serving as adequate advocates

for private parties,” even when “the interest of a federal agency and potential intervenor can be

expected to coincide.” Id. (citing Fund For Animals, 322 F.3d at 736, and Costle, 561 F.2d at

912–13).



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       Here, the RNC seeks to intervene in part to argue that Executive Order 14,248 protects its

constitutional interest in competing federal elections to advance its own partisan objectives. See

RNC’s Mot. at 12. The Federal Defendants are unlikely to be adequate representatives of these

private, partisan interests. Cf. Warth v. Seldin, 422 U.S. 490, 499–500 & n.12 (1975) (highlighting

prudential limits on the availability of defenses based on the rights of third parties).

       Separately, the RNC asserts a unique interest in defending the decision of the U.S. Court

of Appeals for the Fifth Circuit in RNC v. Wetzel, 120 F.4th 200 (2024), petition for cert. filed sub

nom. Watson v. RNC, No. 24-1260 (June 6, 2025), in which the RNC was the prevailing party.

See RNC’s Mot. at 12. That decision directly implicates the RNC’s private, partisan interests in

a particular set of election procedures, and the RNC has no guarantee that the Government will

defend against any collateral attack on the Wetzel decision in a way that will adequately protect

those interests. For all these reasons, the RNC has shown that no existing party in these

consolidated cases will adequately represent its interests.

                                          *       *       *

       In sum, the RNC has shown that it has standing to defend Sections 2(a), 2(b), 2(d), and 7(a)

of Executive Order 14,248, and it has satisfied each of the other requirements for intervention in

these consolidated cases. See Fed. R. Civ. P. 24(a); Crossroads, 788 F.3d at 320. However, the

RNC has not shown that it has standing to defend any other provisions of the Executive Order.

Accordingly, the Court shall allow the RNC to intervene as a Defendant, but only against the

Plaintiffs’ claims regarding those provisions of the Executive Order for which the RNC has

established standing to intervene.




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                                       IV. CONCLUSION

        For the foregoing reasons, it is ORDERED that the RNC’s [125] Motion to Intervene is

GRANTED IN PART and DENIED IN PART, as follows: The RNC may intervene as a

Defendant against all Plaintiffs’ claims for relief from the implementation of Sections 2(a), 2(b),

2(d), 3(a), and 7(a) of Executive Order 14,248. Accordingly, the Clerk of the Court is respectfully

directed to join the RNC as a Defendant-Intervenor in Case Nos. 25-cv-0946, 25-cv-0952, and 25-

cv-0955, and to docket the documents at ECF Nos. 125-2, 125-3, and 125-4 as the RNC’s Answers

to the Plaintiffs’ Complaints. The RNC’s Motion to Intervene is otherwise DENIED.

        It is further ORDERED that the RNC shall adhere to all deadlines and scheduling orders

previously entered in this matter, including the order to appear in person for an initial scheduling

conference at 9:00 a.m. ET on June 18, 2025, in Courtroom 28-A. See Order, ECF No. 122.

        It is further ORDERED that the deadline for counsel for all parties, including the RNC, to

meet, confer, and file a joint Local Rule 16.3 report is CONTINUED to 5:00 p.m. ET on June 16,

2025.

        It is further ORDERED that the RNC shall, except as noted below, adhere to all provisions

of the Order consolidating these cases, ECF No. 12, including the following:

        •      The parties shall make all future filings in these cases only on the docket for the
               earliest-numbered case, Civil Action No. 25-cv-0946, and the parties shall make no
               further filings on the dockets for Civil Action Nos. 25-cv-0952 and 25-cv-0955.

        •      Before any party may expand the scope of any of the consolidated cases by adding
               new claims or parties, the parties to the consolidated cases shall meet and confer to
               discuss (a) whether each party consents to the proposed expansion and (b) whether
               the proposed expansion would warrant deconsolidation. Any motion filed with the
               Court that would expand the scope of the consolidated cases shall indicate each
               party’s position on these issues.




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       It is further ORDERED that the RNC may brief the issues in these consolidated cases

separately from the Federal Defendants, and the page limitations in Local Rule of Civil

Procedure 7(e) shall apply to any memorandum filed by the RNC alone.


       SO ORDERED.

      Dated: June 12, 2025


                                                 COLLEEN KOCLAR-KOTU.:
                                                 United States District Judge




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